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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR06-319JLR
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    TAMMY HO,                    )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Count I:      Conspiracy to Distribute Marijuana, in violation of Title 21, U.S.C.,
18                          Sections 841(a)(1), 841(b)(1)(A), and 846; and
19            Count II:     Conspiracy to Engage in Money Laundering, in violation of Title 18,
20                          U.S.C., Section 1956(h).
21   Rescheduled Dates of Detention Hearing: September 28, 2006; October 11, 2006; and
22                                                October 18, 2006.
23   Date of Detention Hearing: October 19, 2006.
24            The Court, having conducted an uncontested detention hearing pursuant to Title
25   18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
26   detention hereafter set forth, finds that no condition or combination of conditions which the

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 1 defendant can meet will reasonably assure the appearance of the defendant as required and
 2 the safety of any other person and the community. The Government was represented by Ye-
 3 Ting Woo. The defendant was represented by Bruce Erickson.
 4           The defendant stipulates to detention, reserving the right to request another hearing
 5 should new information become available.
 6       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 7           (1)    There is probable cause to believe the defendant committed the
 8                  conspiracy drug offense. The maximum penalty is in excess of ten years.
 9                  There is therefore a rebuttable presumption against the defendant’s
10                  release based upon both dangerousness and flight risk, under Title 18
11                  U.S.C. § 3142(e).
12           (2)    The defendant does not contest detention.
13           (3)    Based upon the foregoing information, which is consistent with the
14                  recommendation of U.S. Pre-trial Services, it appears that there is no
15                  condition or combination of conditions that would reasonably assure
16                  future Court appearances and/or the safety of other persons or the
17                  community.
18           It is therefore ORDERED:
19           (l)    The defendant shall be detained pending trial and committed to the
20                  custody of the Attorney General for confinement in a correction facility
21                  separate, to the extent practicable, from persons awaiting or serving
22                  sentences or being held in custody pending appeal;
23           (2)    The defendant shall be afforded reasonable opportunity for private
24                  consultation with counsel;
25           (3)    On order of a court of the United States or on request of an attorney for
26                  the Government, the person in charge of the corrections facility in which

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 1               the defendant is confined shall deliver the defendant to a United States
 2               Marshal for the purpose of an appearance in connection with a court
 3               proceeding; and
 4         (4)   The clerk shall direct copies of this order to counsel for the United
 5               States, to counsel for the defendant, to the United States Marshal, and to
 6               the United States Pretrial Services Officer.
 7         DATED this 23rd day of October, 2006.
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11
                                                    A
                                                    MONICA J. BENTON
12                                                  United States Magistrate Judge

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